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       In the United States Court of Federal Claims
                                          No. 11-439 L
                                    (Filed: February 24, 2012)

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ROBERT A. LUCIANO, JR., Trustee of the      *
Robert A. Luciano Jr. Revocable Trust Dated *
February 27, 1995,                          *
                                            *
              Plaintiff,                    *
                                            *
       v.                                   *
                                            *
UNITED STATES OF AMERICA,                   *
                                            *
              Defendant.                    *
                                            *
*****************************

                                            OPINION

       A hearing was held in this Court on February 16, 2012 on defendant’s Motion to Dismiss.

The Court ruled from the bench at the hearing, and the transcript will serve as the opinion of the

Court. The Court denied defendant’s Motion to Dismiss. The parties shall file a joint discovery

schedule by March 1, 2012.




                                                     s/ Lawrence S. Margolis
                                                     LAWRENCE S. MARGOLIS
                                                     Senior Judge, U.S. Court of Federal Claims
